Case 1:23-cv-00108-LMB-JFA Document 838-1 Filed 06/14/24 Page 1 of 7 PageID# 20060




                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA




   United States of America, et al.,

                       Plaintiff,
                                             Case No. 1:23-cv-00108-LMB-JFA
        v.
                                             The Honorable Leonie M. Brinkema
   Google LLC

                        Defendant.




       DECLARATION OF PRASHANT SAHITA IN SUPPORT OF NON-PARTY THE
                    TRADE DESK, INC.’S MOTION TO SEAL
Case 1:23-cv-00108-LMB-JFA Document 838-1 Filed 06/14/24 Page 2 of 7 PageID# 20061




                           DECLARATION OF PRASHANT SAHITA

         I, Prashant Sahita, declare as follows:

         1.      I am the Lead Senior Business Intelligence Analyst at The Trade Desk, Inc. (“The

  Trade Desk”). I have personal knowledge of the facts set forth herein and if called as a witness

  could and would testify competently to them.

         2.      The Trade Desk is a self-service ad buying platform known as a demand-side

  platform (“DSP”) and is headquartered in Ventura, California with offices in various cities in North

  America, Europe, Asia, and Australia. The Trade Desk offers programmatic marketing operated

  by real-time decisions based on user identity, device information and other data points. The Trade

  Desk enables highly personalized consumer experiences, and improves return-on-investment for

  companies and advertisers.

         3.      I have worked at The Trade Desk since October 2021 and have extensive

  experience collaborating with various teams at The Trade Desk, including Sales, Client Services,

  Finance, Product, Technology, and Marketing to design and develop insights and capabilities to

  help guide strategic decision making at The Trade Desk.         In my current role as Lead Senior

  Business Intelligence Analyst at The Trade Desk, I, among other things, surface insights from

  multiple data sources to support complex operational decision making and competitive strategy;

  execute and/or coordinate critical advanced analytics initiatives on behalf of The Trade Desk; lead

  cross-functional teams to develop data-driven insights and decision metrics; and provide analysis

  of key performance indicators and success metrics across various business areas and develop

  actionable insights for leadership. As part of my responsibilities, I regularly analyze competitively

  sensitive financial and performance data of The Trade Desk.

         4.      By operating a DSP platform, The Trade Desk provides its clients access to digital



                                                   2
Case 1:23-cv-00108-LMB-JFA Document 838-1 Filed 06/14/24 Page 3 of 7 PageID# 20062




  ad inventory and works with ad exchanges to deliver tailored digital experiences. Each DSP offers

  a different mix of inventory options and products to choose from, making the choice of which

  DSPs to use a strategic choice. The Trade Desk spends considerable resources to compete against

  other DSP platforms and provide the best performance for its clients’ campaigns in terms of

  targeting, reach, cost-efficiency, and return-on-investment.      The Trade Desk’s financials,

  knowledge and understanding of DSP strategies make part of the valuable service it provides to its

  clients and can be seen as a competitive advantage.

         5.      Exhibit 3 to the Declaration of Bryon Becker in Support of Defendant’s Motion for

  Summary Judgment (ECF No. 581-3) at figures 69-72 and 89 contain certain financial information

  relating to the open-web display spending of The Trade Desk’s clients. Such figures and unique

  data are highly confidential, business sensitive proprietary information of The Trade Desk and its

  clients. If made public, this information and data may be leveraged by The Trade Desk’s

  competitors to undercut The Trade Desk’s pricing and disadvantage its competitive position in the

  marketplace.

         6.      Footnote 93 to Exhibit 5 to the Declaration of Bryon Becker in Support of

  Defendant’s Motion for Summary Judgment (ECF No. 581-5) contains an excerpt of The Trade

  Desk’s response to the European Commission’s Questionnaire For Demand-Side Platforms

  relating to Google’s integration of its publisher ad server DoubleClick for Publishers and its

  SSP/ad exchange AdX into Google Ad Manager (“GAM”). This information represents The Trade

  Desk’s evaluative analysis of GAM and the advantages of Google’s media platform strategy that

  The Trade Desk has analyzed after expending considerable resources. These analyses inform The

  Trade Desk’s positional strategies within the marketplace and are highly sensitive, non-public,

  business information developed over years of experience. Public disclosure of this information



                                                  3
Case 1:23-cv-00108-LMB-JFA Document 838-1 Filed 06/14/24 Page 4 of 7 PageID# 20063




  would cause harm to The Trade Desk’s competitive position in the market.

         7.      Exhibit 10 to the Declaration of Bryon Becker in Support of Defendant’s Motion

  for Summary Judgment (ECF 581-10) contains deposition testimony by The Trade Desk’s Chief

  Revenue Officer regarding the potential impact of changes made to HTTP cookies (also known as

  browser cookies) on programmatic advertising as well as The Trade Desk’s corporate strategy.

  This information represents The Trade Desk’s proprietary and highly confidential market analyses

  which informs its DSP strategy and future plans. If made public, The Trade Desk’s competitors

  may leverage this information to undermine The Trade Desk’s DSP strategy and market position.

         8.      Exhibit 62 to the Declaration of Bryon Becker in Support of Defendant’s Motion

  for Summary Judgment (ECF No. 586-2) contains certain data gathered by The Trade Desk related

  to advertiser transactions through ad exchanges, including the revenues retained by The Trade

  Desk as a portion of such transactions. Specifically, paragraphs 39, 42, and 48—including figures

  6, 8, 9 and 10—discuss monthly financial information for advertiser transactions that flow through

  the AdX exchange—produced by The Trade Desk—which delineate certain of the Trade Desk’s

  customers’ highly sensitive and confidential web display purchases through The Trade Desk

  platform. Additionally, Footnote 50 contains certain of The Trade Desk’s clients’ ad exchange

  spend as well as invoices depicting the fees charged by The Trade Desk delineating the revenue

  retained by The Trade Desk in certain ad exchange purchases. This information represents The

  Trade Desk’s proprietary and confidential trade secrets for how it prices its services. The Trade

  Desk’s pricing is amongst the business’s most sensitive and confidential secrets.

         9.      Exhibit 97, including Figure 11, to the Declaration of Bryon Becker in Support of

  Defendant’s Motion for Summary Judgment (ECF No. 595-7, 604-4) includes data from The Trade

  Desk relating to purchases made by the Federal Aviation Administration and United States Postal



                                                  4
Case 1:23-cv-00108-LMB-JFA Document 838-1 Filed 06/14/24 Page 5 of 7 PageID# 20064




  Service. This data breaks down exact revenue amount for distinct media purchases made by

  Federal Aviation Administration and the United States Postal Service using The Trade Desk’s

  services and platform. This information represents The Trade Desk’s proprietary and confidential

  trade secret approach for pricing its services, which provides The Trade Desk with a competitive

  advantage in the marketplace. If made public, The Trade Desk would be harmed and prejudiced

  since its competitors may leverage the information to undercut The Trade Desk’s pricing strategy

  and disadvantage its competitive position in the marketplace.

         10.     Figure 10 in Exhibit 97 of Plaintiffs’ Opposition to Defendant’s Motion for

  Summary Judgment (ECF No. 665-15) contains data from The Trade Desk relating to purchases

  made by the Federal Aviation Administration using The Trade Desk platform and services. Such

  data breaks down exact revenue amount for distinct media purchases and represent The Trade

  Desk’s proprietary and confidential trade secret approach for pricing its services, which provides

  The Trade Desk with a competitive advantage in the marketplace.

         11.     Figures 6 and 7 in Exhibit B to Plaintiffs’ Opposition to Defendant’s Motion to

  Exclude the Testimony of Professor Robin S. Lee (ECF No. 660-2) and Figures 6 and 7 in Exhibit

  B to Plaintiff’s Opposition to Motion to Exclude the Testimony of Adoria Lim (ECF No. 647-2)

  include certain figures relating to The Trade Desk’s product market filters and open web display

  ad purchases made by the Federal Aviation Administration through The Trade Desk’s platform.

  This information represents The Trade Desk’s proprietary and confidential trade secrets for

  deriving its DSP strategy and pricing, which provide The Trade Desk with a competitive advantage

  in the marketplace.

         12.     Exhibits 144 and 155 to the Declaration of Bryon Becker in Support of Defendant’s

  Replies In Support of Defendant’s Motion for Summary Judgment and Motions to Exclude (ECF



                                                  5
Case 1:23-cv-00108-LMB-JFA Document 838-1 Filed 06/14/24 Page 6 of 7 PageID# 20065




  Nos. 708-18 and 708-29, respectively) include certain data related to The Trade Desk’s offered

  services to the U.S. Navy, such as the total spend by the U.S. Navy of The Trade Desk

  programmatic advertising and an issued invoice—outlining costs and charged fees for The Trade

  Desk’s rendered services. Such data breaks down costs and revenue amounts for distinct media

  purchases and represent The Trade Desk’s proprietary and confidential trade secret approach for

  pricing its services, which provides The Trade Desk with a competitive advantage in the

  marketplace.

          13.        The financial figures and innovative approaches to pricing and DSP planning that

  are addressed in these exhibits are what differentiate The Trade Desk from other DSPs. Revealing

  these details could expose these creative elements to competitors, who might then replicate or

  undermine The Trade Desk’s innovative strategies and competitive edge. The Trade Desk’s

  discussions, analyses, and pricing have substantial economic and competitive value. The Trade

  Desk spends a significant amount of money and resources to develop such specialized knowledge

  and strategies in programmatic advertising to provide a commercially competitive DSP offering

  to its clients.

          14.        Public disclosure of The Trade Desk’s discussions, analyses, and strategic

  considerations would cause The Trade Desk significant commercial and competitive harm and

  prejudice.        Accordingly, disclosure would compromise The Trade Desk’s position in the

  marketplace by giving its competitors an inside look into the proprietary practices that give The

  Trade Desk a competitive advantage in the programmatic advertising space and grant such

  competitors a valuable and inequitable shortcut to their own development efforts.

          I declare under penalty of perjury under the laws of Virginia that the foregoing is true and

  correct and that this declaration was executed on June 14, 2024, in New York, New York.



                                                     6
Case 1:23-cv-00108-LMB-JFA Document 838-1 Filed 06/14/24 Page 7 of 7 PageID# 20066
